       Case 2:14-cr-00181-AJS Document 33-1 Filed 05/29/15 Page 1 of 1




                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA


      vs.                                            Criminal No. 14-181


STEVEN J. LYNCH,

             Defendant.

                                 ORDER OF COURT

      AND NOW, this ______ day of __________________, 2015, after consideration of the

foregoing Motion for Discovery of Unredacted Rule 16 Materials, IT IS HEREBY ORDERED

ADJUDGED AND DECREED that said Motion is:

______________________________________________________________________________

______________________________________________________________________________

______________________________________________________________________________



                                                     BY THE COURT:



                                                     _________________________
                                                     Hon. Maurice B. Cohill
